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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             vs.                              )                8:06CR248
                                              )
GUSTAVO LARA,                                 )                 ORDER
                                              )
                    Defendant.                )




      Before the court is defendant’s Motion to Withdraw Motion to Suppress [42].
The motion is granted and the pleading [35] is deemed withdrawn. The hearing
scheduled for October 12, 2006 at 9:30 a.m. is cancelled.

      IT IS SO ORDERED

      DATED this 6th day of October, 2006.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
